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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

DEUTSCHE BANK NATIONAL TRUST                       §
COMPANY, AS TRUSTEE FOR                            §
SOUNDVIEW HOME LOAN TRUST                          §
2006-OPT1, ASSET-BACKED                            §
CERTIFICATES, SERIES 2006-OPT1,                    §
                                                   §
                                                   §
        Plaintiff,                                 §              Civil Action No. 4:22-cv-00120
                                                   §
v.                                                 §
                                                   §
ANNETTE F. CHANDLER-NEWTON,                        §
GONZALEZ FINANCIAL HOLDINGS,                       §
INC., aka GFH, INCORPORATED                        §
                                                   §
                                                   §
        Defendants.                                §

                           PLAINTIFF’S ORIGINAL COMPLAINT

        Deutsche Bank National Trust Company, as Trustee for Soundview Home Loan Trust

2006-OPT1, Asset-Backed Certificates, Series 2006-OPT1 (“Plaintiff” or “Deutsche”),

complains of Annette F. Chandler-Newton, and Gonzalez Financial Holdings, Inc. aka GFH,

Incorporated, Defendants, files this Original Complaint, and states as follows:

                                          I.      PARTIES

        1.      Plaintiff Deutsche Bank National Trust Company, as Trustee for Soundview

Home Loan Trust 2006-OPT1, Asset-Backed Certificates, Series 2006-OPT is the trustee of a

trustee of a trust with its principal place of business in California.

        2.      Defendant Annette F. Chandler-Newton is an individual and may be served with

process at her residence, 8524 Crestview Drive, North Richland Hills, Texas 76182 or at such

other place as she may be found. Summons is requested.



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       3.      Defendant Gonzalez Financial Holdings, Inc. aka GFH, Incorporated is a

domestic for-profit corporation doing business in the State of Texas and may be served through

its registered agent, David D. Gonzalez, 909 NE Loop 410, Suite 902, San Antonio, Texas

78209. Summons is requested.

                                      II.     PROPERTY

       4.      This proceeding concerns the following real property and improvements

commonly known as 8524 Crestview Drive, North Richland Hills, Texas 76182 more

particularly described as:

               LOT 15R, IN BLOCK 15, STONYBROOKE ADDITION, AN
               ADDITION TO THE CITY OF NORTH RICHLAND HILLS,
               TARRANT COUNTY, TEXAS, ACCORDING TO THE PLAT
               RECORDED IN VOLUME 388-95, PAGE 58, OF THE PLAT
               RECORDS OF TARRANT COUNTY, TEXAS (the “Property”).

                     III.    DIVERSITY JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the controversy because there is complete

diversity between Plaintiff and Defendants, and the amount in controversy exceeds $75,000.00.

See 28 U.S.C. § 1332.

       6.      Deutsche is a national bank association and the trustee of a trust. A trustee who

possesses “customary powers to hold, manage, and dispose of assets” is the real party in

interest to a suit. Navarro Sav. Assoc. v. Lee, 446 U.S. 458, 464 (1980); see BAC Home Loans

Servicing, LP v. Tex. Realty Holdings, LLC, 901 F. Supp. 2d 884, 907–09 (S.D. Tex. 2012).

“[W]hen a trustee files a lawsuit in her name, her jurisdictional citizenship is the State to which

she belongs.” Bynane v. Bank of N.Y. Mellon, 866 F.3d 351, 357 (5th Cir. 2017) (quoting Justice

v. Wells Fargo Bank National Association, 674 F. App’x 330, 332 (5th Cir. 2016) (quoting

Americold Realty Tr. v. ConAgra Foods, Inc., 136 S. Ct. 1012, 1016 (2016))). A national



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banking association is considered a citizen of the state in which it is located, as determined by

the state of its main office in the articles of association. Wachovia Bank, NA v. Schmidt, 546 U.S.

303, 318 (2006) (citing 28 U.S.C. § 1348). Because Deutsche’s main office is in California,

Plaintiff is a citizen of California for diversity purposes. See FFGGP, Inc. v. Deutsche Bank

Nat’l Tr. Co., Civil Action No. 3:16-CV-0742-M-BK, 2017 U.S. Dist. LEXIS 162336, at *6

(N.D. Tex. Sep. 6, 2017).

         7.    Defendant Annette F. Chandler-Newton is an individual and citizen of the state of

Texas.

         8.    Defendant Gonzalez Financial Holdings, Inc. aka GFH, Incorporated is a

corporation with its principal business in San Antonio, Texas. A corporation is a citizen of the

state where it has been incorporated, and any state where the corporation has its principal place

of business. See 28 U.S.C. § 1332(c)(1). Therefore, Defendant Gonzalez Financial Holdings, Inc.

aka GFH, Incorporated is a citizen of Texas for diversity purposes.

         9.    In this suit, Plaintiff seeks a declaratory judgment and foreclosure so it may

enforce its security interest in the Property. Because the lien interest is valued at more than

$75,000.00, the minimum amount-in-controversy requirement has been met. When the object of

the litigation is a mortgage lien that entitles its owner to the full use and enjoyment of the

property, the lien may be measured by the appraised value of the property, the purchase price, or

the outstanding principal and interest. Cf. Farkas v. GMAC Mortg., LLC, 737 F.3d 338, 341 (5th

Cir. 2013).

         10.   When a party seeks declaratory relief, the amount in controversy is measured by

the value of the object of the litigation, and the value of that right is measured by the losses that

will follow. Webb v. Investacorp, Inc., 89 F.3d 252, 256 (5th Cir. 1996). Stated differently, the



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amount in controversy is “the value of the right to be protected or the extent of the injury to be

prevented.” Hartford Ins. Grp. v. Lou-Con, Inc., 293 F.3d 908, 910 (5th Cir. 2002) (quoting

Leininger v. Leininger, 705 F.2d 727, 729 (5th Cir. 1983)); see also Farkas, 737 F.3d at 341.

       11.     Here, the value of the right to be protected is enforcement of a mortgage lien

through foreclosure. If Plaintiff were to foreclose on the Property, it would be entitled to either

the full use and possession of it, or the proceeds of a foreclosure sale. As of February 10, 2022,

the total amount due was $158,013.38. Further, the Tarrant County Appraisal District has valued

the Property at $222,989.00. Therefore, the amount in controversy is more than $75,000.00.

       12.     Venue is proper in the Northern District of Texas, Fort Worth Division, because

this suit concerns title to real property located in Tarrant County, Texas. See 28 U.S.C. §§ 124,

1391(b)(2).

                                         IV.     FACTS

       13.     The foregoing paragraphs are incorporated by reference for all purposes.

       14.     On or about October 29, 1996, Oran T. Stein executed a Warranty Deed with

Vendor’s Lien (“Warranty Deed”) in favor of Vernon Newton and Defendant Annette F.

Chandler-Newton granting them title in the Property. The Warranty Deed was recorded in the

Official Public Records of Tarrant County, Texas under Document Number D196217475.

       15.     On or about January 4, 2006, Defendant Annette F. Chandler-Newton

(“Borrower”) executed certain Texas Home Equity Adjustable Rate Note in the principal amount

of $97,600.00 (“Note”), originally payable to Lenders Residential Mortgage Corp. (“Lenders

Residential”) and bearing interest at the initial rate of 8.450% per annum. A true and correct

copy of the Note is attached hereto as Exhibit A.




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       16.    Concurrently with the Note, the Borrower and her husband at that time, Vernon

Newton, executed that certain Texas Home Equity Security Instrument (the “Security Instrument”

and together with the Note, the “Loan Agreement”), as grantors, granting a security interest in

certain real property and improvements located in Tarrant County, Texas. On March 2, 2006, the

Security Instrument was recorded in the Official Public Records in Tarrant County, Texas under

Document Number D206060086. A true and correct copy of the Security Instrument is attached

hereto as Exhibit B.

       17.    The Note was initially specially indorsed by Lenders Residential in favor of

Option One Mortgage Corporation (“Option One”). The Note was then indorsed in blank by

Option One, and there have been no other endorsements or allonges.

       18.    Plaintiff is the current owner and holder of the Note. See Exhibit A.

       19.    On February 6, 2010, Vernon Newton executed a Quitclaim Deed, conveying his

interest in the Property to Borrower. The Quitclaim Deed was filed in the Real Property Records

of Tarrant County on March 5, 2010, as Instrument Number D210049431.

       20.    Prior to the execution of the Loan Agreement, a Consent to Transfer of Tax Lien

(“Consent to Transfer”) was executed by Borrower and Vernon Newton on August 19, 2005.

The Consent to Transfer provided consent for payment of all delinquent ad valorem taxes on the

Property by GFH, Incorporated (“GFH”). Concurrently, a Deed of Trust – Tax Lien was

executed pursuant to the Consent to Transfer agreement, granting GFH a security interest in the

Property. The Consent to Transfer, along with the Deed of Trust – Tax Lien, was filed in the

Real Property Records of Tarrant County on August 23, 2005, as Instrument Number

D205248021. Upon information and belief, the Deed of Trust – Tax Lien was satisfied from the

proceeds of the Loan Agreement in 2006. However, no release of the Deed of Trust – Tax Lien



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was ever filed. No action has been taken since 2005, by GFH, to enforce its tax lien on the

Property.

       21.     Under the terms of the Loan Agreement, Borrower was required to pay when due

the principal and interest on the debt evidenced by the Note, as well as any applicable charges

and fees under the Note.

       22.     The Loan Agreement further provides that should Borrower fail to make

payments on the Note as they became due and payable or fail to comply with any or all of the

covenants and conditions of the Security Instrument, that the lender may enforce the Security

Instrument by selling the Property according to law and in accordance with the provisions set out

in the Loan Agreement.

       23.     Borrower failed to make the payments under the terms of the Loan Agreement

and a Notice of Default and request to cure was mailed to Borrower in accordance with the Loan

Agreement and with section 51.002 (d) of the Texas Property Code on June 27, 2018. A true and

correct copy of the Notice of Default dated June 27, 2018, is attached hereto as Exhibit C.

       24.     The Borrower failed to cure the default, and the maturity date of the debt was

accelerated on September 25, 2018, when a Notice of Acceleration of Loan Maturity was mailed

to the Borrower. A true and correct copy of the Notice of Acceleration of Loan Maturity is

attached hereto as Exhibit D.

       25.     After the acceleration of the debt, the Borrower applied and was working on a

loss mitigation option to resolve the default under the Loan Agreement. On August 28, 2019, a

Notice of Rescission of Acceleration of Loan Maturity was mailed to the Borrower advising her

that the prior acceleration of the debt was rescinded without prejudice. A true and correct copy of

the Notice of Recission of Acceleration of Loan Maturity is attached hereto as Exhibit E.



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        26.     The Borrower was finally approved for a loan modification and executed a Loan

Modification Agreement with Plaintiff on December 15, 2020, thereby modifying the terms of

the Loan Agreement to cure the default. A true and correct copy of the executed Loan

Modification Agreement is attached hereto as Exhibit F.

        27.     Subsequently, Borrower failed to make the payments under the terms of the Loan

Agreement, as modified. The Loan Agreement is currently due for the October 1, 2021, payment,

and all subsequent monthly payments. Notice of default and request to cure was mailed to

Borrower in accordance with the Loan Agreement and with section 51.002 (d) of the Texas

Property Code on November 18, 2021, A true and correct copy of the Notice of Default dated

November 18, 2021, is attached hereto as Exhibit G.

        28.      The default was not cured, and the maturity of the debt is hereby accelerated by

the filing of the instant action.

        29.     Plaintiff brings this suit for declaratory judgment and foreclosure so it may

enforce its security interest in the Property. Plaintiff also brings this suit to obtain a declaratory

judgment that GFH’s tax lien is extinguished by law and no longer presents a cloud on title to the

Property. In the alternative, Plaintiff seeks a declaration that the tax lien of GFH has been

satisfied and no longer encumbers the Property in question.

                V.       CAUSE OF ACTION: DECLARATORY JUDGMENT
                              (STANDING TO FORECLOSE)

        18.     The foregoing paragraphs are incorporated by reference for all purposes.

        19.     Plaintiff has standing to enforce the Security Instrument as holder and owner of

the Note. Hardaway v. Select Portfolio Servicing, Inc., No. 4:18-CV-1062, 2020 U.S. Dist.

LEXIS 63172 at *8 (S.D. Tex. Apr. 10, 2020) (citing Everbank v. Seedergy Ventures, Inc., 499

S.W.3d 534, 541 (Tex. App.—Houston [14th Dist.] 2016, no pet.)) Plaintiff requests a declaration


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from this Court that, as the owner and holder of the Note it has standing and is authorized under

the Security Instrument to enforce the power of sale contained in the Security Instrument through

a non-judicial foreclosure of the Property.

       20.     Plaintiff has been forced to hire the undersigned attorneys to seek a declaratory

judgment as a result of the Borrower’s failure to comply with the Loan Agreement. Plaintiff is

therefore entitled to its reasonable attorney’s fees in this action, both through trial and in the

event of a subsequent appeal, as provided by the Security Instrument signed by the Borrower.

Plaintiff requests that the award of attorney’s fees be made not as a money judgment against the

Defendants, but as further obligation under the subject Note and Security Instrument.

                       VI.     CAUSE OF ACTION: FORECLOSURE

       21.     The foregoing paragraphs are incorporated by reference for all purposes.

       22.     As the current owner and holder of the Note who has the right to enforce the Note

and the Security Instrument, Plaintiff asserts a cause of action for foreclosure against Borrower.

The Loan Agreement is a contract, and Plaintiff fully performed its obligations under it.

Borrower, however, did not comply with the Loan Agreement by failing to substantially perform

material obligations required under its terms (principally, the payment of amounts due under the

contract, among others). Therefore, Plaintiff seeks a judgment allowing it to foreclose on the

Property in accordance with the Security Instrument and Texas Property Code § 51.002.

       23.     Plaintiff has been forced to hire the undersigned attorneys to seek a declaratory

judgment as a result of the Borrower’s failure to comply with the Loan Agreement. Plaintiff is

therefore entitled to its reasonable attorney’s fees in this action, both through trial and in the

event of a subsequent appeal, as provided by the Security Instrument signed by the Borrower.




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Plaintiff requests that the award of attorney’s fees be made not as a money judgment against the

Defendants, but as further obligation under the subject Note and Security Instrument.

        24.     All conditions precedent for foreclosure have been performed or have occurred,

and any other action required under applicable law and the loan agreement, contract, or lien

sought to be foreclosed has been performed.

                 VIII. CAUSE OF ACTION: DECLARATORY JUDGMENT
                                (EXTINGUISED LIEN)

        25.     The foregoing paragraphs are incorporated by reference for all purposes.

        26.     Plaintiff requests a declaration from the Court that the lien held by GFH on the

Property is released and is extinguished by the commencement of this litigation. GFH’s tax lien

was satisfied through the proceeds of the 2006 Security Instrument, and there was a subsequent

failure to release the lien.

                     IX.       CAUSE OF ACTION: SUIT TO QUIET TITLE

        27.     The foregoing paragraphs are incorporated by reference for all purposes.

        28.     In addition to the declaratory judgment causes of action, Plaintiff brings a claim to

quiet title in its favor. That is, Plaintiff seeks a judgment that there are currently no valid liens on

the Property other than Plaintiff’s superior first lien. Any uncertainty as to the validity of the

secured interests previously held by GFH creates a cloud on title. Therefore, Plaintiff requests

that title shall be quieted as to any stranger to title.

        29.     Plaintiff seeks that a declaration that any competing interests in the Property

would be extinguished when Plaintiff foreclose on the Property.




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                                           X.      PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that Defendants be

summoned to appear and answer, and that upon final hearing, the Court enter judgment granting

declaring that (1) Plaintiff is the owner and holder of the Note, (2) Borrower is in default on her

obligations on the Loan Agreement, (3) Plaintiff as the owner and holder of the Note has

standing and is authorized to enforce the power of sale through non-judicial foreclosure of the

Property pursuant to the terms of the Loan Agreement and Texas Property Code § 51.002, or

alternatively, by judicial foreclosure, and (4) that the lien held by GFH on the Property is

released and extinguished. Plaintiff further a declaratory judgment quieting title against the

Property and requests attorneys’ fees and costs of suit, not as a money a judgment against

Defendants, but as further obligation under the subject Note and Security Instrument, and all

other relief, in law and in equity, to which Plaintiff is entitled.

                                                        Respectfully submitted,

                                                    By: /s/ Mark Cronenwett
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